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                   Exhibit 2
7/11/2019 Case     2:19-cv-00996-SDW-JAD Document 25-2CACH, LLC 07/15/19 Page 2 of 2 PageID: 496
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                                              CACH, LLC
                                              COMPANY OVERVIEW




              CACH, LLC, purchases portfolios of both domestic (U.S.) and international consumer
              debt owned by credit grantors including banks and finance companies, and by other debt
              buyers. As the new owner of any debt previously owned by another creditor, CACH’s
              name may appear on a customer's credit report or in a letter from a collection agency.


              The management of purchased assets is outsourced to Resurgent Capital Services LP
              (Resurgent), a third-party specializing in the management of these types of consumer
              assets. Resurgent is a manager and servicer of domestic and international consumer debt
              portfolios for credit grantors and debt buyers, including CACH, and performs these
              services on their behalf. Resurgent, a licensed debt collector, may perform these activities
              directly, or in most cases, will outsource the recovery activities to other, independent,
              specialized, licensed collection agencies. If you are a customer, please direct your inquiries
              to the firm currently servicing your account.


                   If you would like to speak to a representative of Resurgent, please contact Customer
                                                       Service at:

                                                   1-888-665-0374
                                                     Resurgent.com




https://cach-llc.com                                                                                           1/1
